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                         EXHIBIT 1
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From:                                Barnes Ill, Attison <ABarnes@wileyrein.com>
Sent:                                Tuesday, April 16, 2019 6:09 PM
To:                                  Nicole R. Van Dyk; Ashley D. Bowman
Subject:                             RE: KST v. DXC




Nicole -

I have a standing invitation to you if you would like to talk. Although you have my position on the 18% issue, you have
not informed me that you are willing to withdraw the request for 18%. If your purpose truly was to have a further




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discussion to see if this could be resolved, I don't see why you would be avoiding a call.



              Attison L. Barnes, Ill I Attorney at Law
              1776 K Street NW J Washington, DC 20006
              T: 202.719.7385 I abarnes@wileyrein.com
              wileyrein.com I Bio I Linked In I Twitter



From: Nicole R. Van Dyk <nvandyk@birdmarella .com>
Sent: Monday, April 15, 2019 9:56 PM
To: Barnes 111, Attison <ABarnes@wileyrein.com>; Ashley D. Bowman <abowman@birdmarella.com>
Subject: RE: KST v. DXC

Attison,

As you know, L.R. 7-3 sets a timel ine and requirements for meet-and-confer efforts that you did not even attempt to
follow w ith regard t o your request for reconsiderat ion. Calling my office to meet and confer the same day you fil e a
motion is insufficient under L.R. 7-3 regardless of the content of the conversation.

With regard to the call you placed to Ashley, you misrepresented to the co urt t hat you met and conferred with her
regarding the substance of your motion, when she made clear to you that she was not prepared to meet and confer at
the time you placed your cold-call and that she could not meet and confer without my involvement. She relayed this to
me shortly after her brief call with you when we conferred regarding my availability for a meet-and-confer call.

Though your attempt to skirt your misrepresentations by raising the fact that Ashley has been authorized to meet and
confer with you on other occasions is, frankly, beside the point. Throughout the case, I extended your colleagues the
courtesy of conf erring with you as the supervising partner when they advised me that t hey needed to consult w ith you
before proceeding on various matters. I expect the same from you.

Nicole


From: Barnes Ill, Attison <ABarnes@wileyrein.com>
Sent: Friday, April 12, 2019 2:57 PM
Tm Nicole R. Van Dyk <nrv@birdmarella.com>; Ashley D. Bowman <adb@birdmarella.com>
Subject: RE: KST v. DXC



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Nicole-

Before filing the motion, I called your office to have a meet-and-confer. I spoke with Ashley who is counsel of record on
t he pleadings. I indicated my intent to file the motion, and asked for KST's position. I am not aware of a requirement
that I must speak with any particular lawyer when having a meet-a nd-confer, and Ashley has previously participated in
such discussions alone during this litigation. In fact, we have primarily interacted w ith Ashley in this case, and she took
or defended the majority of the depositions.

I note that you did not participate in the discussion on Wednesday, so you would not have personal knowledge of what
was discussed. In any event, I understand that your position has not changed, and KST is still seeking 18% pre-judgment
interest. If your position has changed, please let me know and we can enter into a stipulation. Again, as I stated in my
last e-mail, I remain available to discuss the issue again should you wish to do so. I would hope that you would work in




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good faith to narrow or resolve a dispute, rather than use your e-mail in an effort to gain some tactical advantage.



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From: Nicole R. Van Dyk <nvandyk@birdmarella .com>
Sent: Friday, April 12, 2019 2:09 PM
To: Barnes Ill, Attison <ABarnes@wileyrein.com>; Ashley D. Bowman <abowman@birdmarella.com>
Subject: RE: KST v. DXC

Attison,

Your repeated attempts to misrepresent our discussions-both in these email exchanges and to the court-are as
inappropriate as they are inaccurate. We have not discussed your motion for reconsideration many t imes; you first
advised us that you were planning to file a motion during your three-minute call with Ashley on Wednesday. She
advised you that she was not available to meet and confer at that time and that she would check with me regarding my
availability for a meet-and-confer ca ll, which I needed to participate in as the supervising partner on this matter. She
later emailed you with our availability. Rather than scheduling a call, you chose to file without meeting and conferring in
violation of L.R. 7-3 and to misrepresent your compliance to the court. As Ashley stated below, we will raise this issue at
the appropriate time in response to your improperly filed motion .

Thanks,
Nicole



Nicole Rodriguez Van Dyk
Principal
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                                           #:11051


From: Barnes Ill, Attison <ABarnes@w ileyrein.com>
Sent: Thursday, April 11, 2019 9:50 AM
To: Ashley D. Bowman <ad b@birdmarella.com>
Cc: Nicole R. Van Dyk <nrv@bi rdmarella.com>
Subject: RE: KST v. DXC


Ashley -

As you know, we have conferred on this issue multiple t imes. I remain available to discuss the issue again should you




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wish to do so. Please let me know. Thank you.



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From: Ashley D. Bowman <abowman@bi rdmarella.com>
Sent: Wednesday, April 10, 2019 5:49 PM
To: Barnes Ill, Attison <ABarnes@wileyrein.com>
Cc: Nicole R. Van Dyk <nvandyk@birdma rella.com>
Subject : RE: KST v. DXC

Attison:

Your summary of our call this morning is not accurate. I told you during our three-minute phone call that I was not
prepared to meet and confer this morning as I only had a few minutes to speak. I also told you t hat I needed to include
Nicole in the meet and confer discussion regarding the motion grounds and available motion hearing dates, and that I
would see when she was available t o have a call w ith you. I emailed you to lay out that information once I was able to
obtain it.

As you know, calling me the morning that you intend to file a mot ion, with no prior notice or communicat ion, does not
satisfy the meet and confer req uirements set forth in LR. 7-3. If you intend to file your motion today, I presume t hat
you will not include a LR. 7-3 declaration since you haven't given us an opportunity to meet and confer as required by
t he rules. Please note that should you proceed with filing yo ur motion, we will object to it on that basis in addition t o
any others t hat apply.

Ashley.



Ashley D. Bowman
Associate
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From: Barnes Ill, Attison <ABarnes@wileyrein.com>
Sent : Wednesday, April 10, 2019 2:21 PM
To: Ashley D. Bowman <adb@birdmarella.com>
Cc: Nicole R. Van Dyk <nrv@bi rdmarella.com>
Su bject : RE: KST v. DXC


Ashley -

I'm not sure what you mean. To the extent it was required, we had a meet-and-confer discussion earlier today where I
told you the bases for the motion fo r reconsideration. You said you would call me back this afternoon if you changed
your mind on these issues, and the same issues are t he subject of prior filings anyway. Instead of calling me back (I have
not left my office for the last two hours and was in my office when you sent your e-mail a f ew minutes ago), you sent the
e-mail below when you knew I was filing my reconsideration motion today. I will be in my office for the next two hours
if you change your mind and consent to reconsideration. Otherwise, I am proceeding with the reconsideration request.



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From: Ashley D. Bowman <abowman@birdmarella.com>
Se nt : Wednesday, April 10, 2019 5:02 PM
To: Barnes Ill, Attison <ABarnes@wileyrein.com>
Cc: Nicole R. Van Dyk <nvandyk@birdmarella.com>
Subje ct: KST v. DXC

Hi Attison,

Nicole and I are both unavailable for May 20 and May 28 th hearing dates - the earliest we can do is June 3.

With regard to M&C on your motion for reconsideration we are available to discuss Friday from 9-12 Pacific, or
otherwise Monday April 15 in the afternoon. Either date will allow sufficient notice to comply with LR 7-3 based on a
June 3 filing date.

Best,


Ashley



Ashley D. Bowman
Associate
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F: 310.201.2110
E: abowman@birdmarella.com

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